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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

HUNT CONSTRUCTION GROUP, INC.,                 §
  an Indiana corporation,                      §
                                               §
      Plaintiff,                               §
v.                                             §    CIVIL ACTION NO. 1:17-cv-00215-LY
                                               §
COBB MECHANICAL CONTRACTORS,                   §
INC.,                                          §
  a Colorado corporation                       §
                                               §
      Defendant,                               §
and                                            §
                                               §
LIBERTY MUTUAL INSURANCE                       §
COMPANY,                                       §
  a Massachusetts corporation                  §
                                               §
      Defendant / Counter-Claimant.            §

LIBERTY MUTUAL INSURANCE COMPANY ANSWER AND COUNTERCLAIM TO
     HUNT CONSTRUCTION GROUP, INC’S AMENDED COMPLAINT FOR
                  INJUNCTIVE AND OTHER RELIEF

       Defendant, LIBERTY MUTUAL INSURANCE COMPANY (“Surety” or “Liberty”), files

its Amended Answer and Counterclaim to the Amended Complaint filed by Hunt Construction

Group, Inc. (“Hunt”). Any allegations in the First Amend Complaint not specifically denied or

addressed herein are denied.

                               ADMISSIONS AND DENIALS

       1.      The Surety denies the averments contained within this paragraph.

                                        THE PARTIES

       2.      The Surety admits that Hunt is incorporated under the laws of the State of Indiana

and has its principal place of business in Indianapolis, Indiana. The Surety is without knowledge

as to the remaining averments in this paragraph, therefore the remaining averments are denied.


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       3.      The Surety admits the averments contained within this paragraph.

       4.      The Surety admits the averments contained within this paragraph.

                                JURISDICTION AND VENUE

       5.      The Surety admits the averments contained within this paragraph.

       6.      The Surety admits the averments contained within this paragraph.



                                   FACTUAL BACKGROUND

       7.      The contract related to the Project speaks for itself. Otherwise, the Surety admits

   the averments contained within this paragraph.

       8.      The Surety lacks knowledge or information sufficient to form a belief about the

truth of the averments contained within this paragraph, therefore denied.

       9.      The Surety lacks knowledge or information sufficient to form a belief about the

truth of the averments contained within this paragraph, therefore denied.

       10.     The Surety lacks knowledge or information sufficient to form a belief about the

truth of the averments contained within this paragraph, therefore denied.

       11.     The Subcontract speaks for itself. Otherwise, the Surety denies the averments

contained within this paragraph.

       12.     The Subcontract and Performance Bond speak for themselves. Otherwise, the

Surety denies the averments contained within this paragraph.

       13.     The Surety denies the averments contained within this paragraph.

       14.     The Surety lacks knowledge or information sufficient to form a belief about the

truth of the averments contained within this paragraph, therefore denied.

       15.     The Surety denies the averments contained within this paragraph.


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       16.     The Subcontract speaks for itself. Otherwise, the Surety denies the averments

contained within this paragraph.

       17.     The Surety lacks knowledge or information sufficient to form a belief about the

truth of the averments contained within this paragraph, and the Subcontract speaks for itself.

Otherwise, the Surety denies the averments contained within this paragraph.

       18.     The Subcontract speaks for itself. Otherwise, the Surety denies the averments

contained within this paragraph.

       19.     The Subcontract speaks for itself. Otherwise, the Surety denies the averments

contained within this paragraph.

       20.     The Surety lacks knowledge or information sufficient to form a belief about the

truth of the averments contained within this paragraph, therefore denied.

       21.     The Surety lacks knowledge or information sufficient to form a belief about the

truth of the averments contained within this paragraph, therefore denied.

       22.     The Surety lacks knowledge or information sufficient to form a belief about the

truth of the averments contained within this paragraph, and the Subcontract speaks for itself.

Otherwise, the Surety denies the averments contained within this paragraph.

       23.     The Surety lacks knowledge or information sufficient to form a belief about the

truth of the averments contained within this paragraph, therefore denied.

       24.     The Surety lacks knowledge or information sufficient to form a belief about the

truth of the averments contained within this paragraph, therefore denied.

       25.     The Surety lacks knowledge or information sufficient to form a belief about the

truth of the averments contained within this paragraph, therefore denied.




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       26.     The Surety lacks knowledge or information sufficient to form a belief about the

truth of the averments contained within this paragraph, therefore denied.

       27.     The Surety lacks knowledge or information sufficient to form a belief about the

truth of the averments contained within this paragraph, therefore denied.

       28.     The Surety lacks knowledge or information sufficient to form a belief about the

truth of the averments contained within this paragraph, therefore denied.

       29.     The Surety lacks knowledge or information sufficient to form a belief about the

truth of the averments contained within this paragraph, therefore denied.

       30.     The Surety lacks knowledge or information sufficient to form a belief about the

truth of the averments contained within this paragraph, therefore denied.

       31.     The Surety lacks knowledge or information sufficient to form a belief about the

truth of the averments contained within this paragraph, therefore denied.

       32.     The Surety denies the averments contained within this paragraph.

       33.     The Surety denies the averments contained within this paragraph.

       34.     The Surety denies the averments contained within this paragraph.

       35.     The Surety denies the averments contained within this paragraph.

       36.     The Surety denies the averments contained within this paragraph.

       37.     The Surety denies the averments contained within this paragraph.

       38.     The Surety denies the averments contained within this paragraph.

       39.     The Surety denies the averments contained within this paragraph.

       40.     The Surety denies the averments contained within this paragraph.

       41.     The Surety denies the averments contained within this paragraph.

       42.     The Surety denies the averments contained within this paragraph.



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       43.     The Surety denies the averments contained within this paragraph.

       44.     The Surety denies the averments contained within this paragraph.

       45.     The Surety denies the averments contained within this paragraph.

       46.     The Surety denies the averments contained within this paragraph.

       47.     The Surety denies the averments contained within this paragraph.

       48.     The Surety denies the averments contained within this paragraph.

       49.     The Surety admits the averments contained within this paragraph.

       50.     The Surety denies the averments contained within this paragraph.

       51.     The Surety lacks knowledge or information sufficient to form a belief about the

truth of the averments contained within this paragraph, and the Subcontract speaks for itself.

Otherwise, the Surety denies the averments contained within this paragraph.

       52.     The Surety denies the averments contained within this paragraph.

       53.     The Surety denies the averments contained within this paragraph.

       54.     The Surety denies the averments contained within this paragraph.

       55.     The Surety denies the averments contained within this paragraph.

       56.     The Surety denies the averments contained within this paragraph.

       57.     The Surety admits the averments contained within this paragraph.

       58.     The Surety denies the averments contained within this paragraph.

       59.     The Surety denies the averments contained within this paragraph.

       60.     The Surety denies the averments contained within this paragraph.



        COUNT I – BREACH OF CONTRACT COBB – ARBITRATION FORUM

       61.     The Surety incorporates its responses to paragraphs 1-53 in above as though fully

restated herein.

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       62.     The Surety believes no response is required to this count, as it is only directed

against Cobb. Otherwise, the Surety denies the averments contained within this paragraph.

       63.     The Surety believes no response is required to this count, as it is only directed

against Cobb. Otherwise, the Surety denies the averments contained within this paragraph.

       64.     The Surety believes no response is required to this count, as it is only directed

against Cobb. Otherwise, the Surety denies the averments contained within this paragraph.



                 COUNT II – BREACH OF CONTRACT AGAINST COBB

      65.      The Surety believes no response is required to this count, as it is only directed

  against Cobb. Otherwise, the Surety denies the averments contained within this paragraph.

      66.      The Surety believes no response is required to this count, as it is only directed

  against Cobb. Otherwise, the Surety denies the averments contained within this paragraph.

      67.      The Surety believes no response is required to this count, as it is only directed

  against Cobb. Otherwise, the Surety denies the averments contained within this paragraph.



                        COUNT III – DECLARATORY JUDMENT

      68.      The Surety believes no response is required to this count, as it is only directed

  against Cobb. Otherwise, the Surety denies the averments contained within this paragraph.

      69.      The Surety believes no response is required to this count, as it is only directed

  against Cobb. Otherwise, the Surety denies the averments contained within this paragraph.

      70.      The Surety believes no response is required to this count, as it is only directed

  against Cobb. Otherwise, the Surety denies the averments contained within this paragraph.




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     71.       The Surety believes no response is required to this count, as it is only directed

  against Cobb. Otherwise, the Surety denies the averments contained within this paragraph.



       COUNT IV – BREACH OF CONTRACT AGAINST LIBERTY MUTUAL

     72.       Liberty incorporates its responses to paragraphs 1-57 above as though fully restated

  herein.

     73.       The Surety denies the averments contained within this paragraph.

     74.       The Surety admits the averments contained within this paragraph.

     75.       The Surety denies the averments contained within this paragraph.

     76.       The Surety denies the averments contained within this paragraph.

     77.       The Surety denies the averments contained within this paragraph.



     COUNT V – BREACH OF CONTRACT AGAINST COBB – PROFESSIONAL

                                  SERVICES AGREEMENT

      78.      Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.

     79.       Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.

     80.       Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.

     81.        Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.




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     82.      Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.

     83.      Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.

     84.      Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.

     85.      Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.

     86.      Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.


 COUNT VI – BREACH OF FIDUCIARY DUTY AGAINST COBB – PROFESSIONAL

                                 SERVICES AGREEMENT

      87.     Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.

     88.      Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.

     89.      Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.

     90.      Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.

     91.      Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.




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     92.      Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.


                          COUNT VII – FRAUD AGAINST COBB

      93.     Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.

     94.      Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.

     95.      Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.

     96.      Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.

     97.      Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.

     98.      Liberty believes these averments do not necessitate a response, as they are directed

  only at Cobb. Otherwise, denied.


                                    PRAYER FOR RELIEF


     99.      This statement does not contain factual allegations to which a response is required

  by Federal Rule of Civil Procedure 8(b). In the event that a response is required, the Surety

  denies that Hunt is entitled to any relief as requested or otherwise.




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                                 AFFIRMATIVE DEFENSES

     100.     Pursuant to Rule 8(b) of the Federal Rules of Civil Procedure, the Surety

  affirmatively pleads that Hunt’s claims are barred, in whole or in part, by the following

  defenses: failure to comply with the conditions precedent in the Performance Bond; failure to

  comply with the notice provisions of the Performance Bond; failure to permit the Surety to elect

  its remedy under the Performance Bond and to mitigate its damages; failure to comply with its

  own obligations under the Subcontract; and failure to give proper notice of default.

     101.     Pleading further, the Surety states the following defenses: that Cobb was not in

  material default at the time of notice of “default;” failure of Hunt to provide an effective

  “Project Schedule” as required by, inter alia, § 9.2 and 9.3 of the Subcontract; failure to provide

  proper notice of default and opportunity to cure to Cobb; failure to provide “reasonable notice”

  to the Surety as required by the terms of the Performance Bond; failure to provide timely written

  demand to Surety; release of the Performance Bond; improper unilateral completion by Hunt

  via Brandt; that the improper unilateral completion by Hunt does not constitute “reasonable

  costs,” as required by the terms of the performance bond; failure to mitigate damages; Hunt’s

  own prior material breach; penal limit of the bond; failure to create a mutually agreed schedule;

  exoneration; material alteration of the bonded contract; anticipatory repudiation by Hunt;

  discharge; impairment of collateral; waiver; estoppel; ratification; failure of Hunt to plead with

  particularity; that all conditions precedent to recovery have occurred or been performed;

  payment; release; economic waste; unjust enrichment; unclean hands; that Hunt is in pari

  delicto; damages are not recoverable under the bond; damages were caused by the acts or

  omissions of Plaintiff; damages were caused by the acts or omissions of third parties; damages

  are not reasonable and/or necessary; improper partial termination of principal; indivisibility of


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   the Bond; indivisibility of the bonded contract; statute of limitations; laches; damages were

   caused by a supervening cause; overpayment; misrepresentation; that the Bond does not cover

   fraud; that the Surety is excused because of fraudulent inducement; that the Bond does not cover

   the Professional Services Agreement; rescission; that the Bond does not cover punitive damages

   or other damages alleged by Hunt; that the punitive damages claim of Hunt is unconstitutional

   under the federal and state constitutions; that the Bond does not cover the relief sought by Hunt;

   failure to permit the Surety to conduct its own investigation, including but not limited to access

   to the Project site; failure to provide the Surety a meaningful opportunity to perform.

      102.      The Surety incorporates by reference and specifically pleads all defenses of its

   principal.


                                      COUNTERCLAIMS

       Defendant Liberty Mutual Insurance Company (the “Surety”) files this its counterclaims

against Plaintiff Hunt Construction Group, Inc. (“Hunt’), and respectfully states:



                                         THE PARTIES

      103.      Liberty Mutual is incorporated under the laws of the State of Massachusetts and

   has its principal place of business in Boston, Massachusetts. Liberty Mutual is registered to do

   business in Texas and regularly does business in Texas.

      104.      Hunt is incorporated under the laws of the State of Indiana and has its principal

   place of business in Indianapolis, Indiana.

                                 JURISDICTION AND VENUE

      105.      This court has subject matter jurisdiction over this case pursuant to 28 U.S.C.

   1332(a) and (c) because the parties are citizens of different states and the amount in controversy


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  exceeds $75,000.

     106.     Venue is proper in this District because the dispute arose in this District.

                                 FACTUAL BACKGROUND

     107.     On July 20, 2015, Hunt entered into a Subcontract with Cobb (the “Subcontract”)

  for a lump sum of $30,938,190.00.

     108.     On August 28, 2015, the Surety entered into a subcontract performance bond

  agreement (“the Bond”), naming Cobb Mechanical Contractors, Inc. (“Cobb”) as principal, and

  Hunt as obligee.

     109.     The Bond states in ¶ 2 that the “subcontract is by reference made a part hereof…”

     110.     The Subcontract provides for a “mutually agreed upon CPM schedule.”

  (Subcontract, Attachment II, ¶ A(1)(q)).

     111.     The Bond requires Hunt to perform its obligations under the Subcontract.

     112.     As a condition precedent, the Bond requires Cobb to actually be in default under

  the Subcontract; Hunt to declare Cobb in default under the Subcontract; and Hunt to perform

  its obligations thereunder.

     113.     If the conditions precedent mentioned above are met, the Bond requires Hunt to

  give the Surety an opportunity to remedy the default, subject to the provisions of paragraph 3

  therein, which includes but is not limited to, making available for the Surety the “balance of the

  subcontract price” as defined in the Bond.

     114.     Hunt declared a “partial termination” of Cobb.

     115.     Hunt did not provide proper notice of default and opportunity to cure to Cobb.

     116.     The Bond does not cover, in any way, the Professional Services Agreement

  between Hunt and Cobb.



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     117.     The Bond does not cover fraud.

     118.     The Bond does not cover punitive damages.

     119.     The Bond does not cover out-of-pocket expenses of Hunt or the other claims of

  Hunt.

     120.     If Hunt’s allegations of rescission or fraud in the inducement are proven valid, then

  the Bond is no longer effective.

     121.     Hunt did not make available the “balance of the subcontract price” to the Surety,

  and did not give the Surety an opportunity to remedy the default.

     122.     Instead, Hunt engaged another contractor, Brandt, on a time and material basis, to

  perform work on the podium.

     123.     Hunt did not give the Surety “reasonable notice,” as required under the Bond, and

  did not first give the Surety a meaningful opportunity to perform or to mitigate damages.

     124.     At the time of notice of default, Cobb was not in material default of the subcontract.

     125.     All conditions precedent to the Surety’s counterclaims have been performed or

  waived.

                           COUNT I – BREACH OF CONTRACT

     126.     The Surety incorporates by reference paragraphs 103-125 above in this Count I as

  though fully restated herein.

     127.     Hunt breached its obligations under the Bond by failing to perform its obligations

  under the Subcontract.

     128.     Hunt failed to create a Project Schedule.

     129.     Hunt did not achieve a “mutually agreed upon CPM schedule.”

     130.     Hunt failed to properly declare Cobb in default. This constitutes a material breach



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  of Hunt’s obligations under the Bond.

     131.      Hunt did not provide a meaningful opportunity to Liberty to perform or to mitigate

  damages. Instead, Hunt unilaterally engaged another contractor, Brandt, apparently on a time

  and materials basis, to take over work on the podium. This action creates a multitude of

  problems and significantly escalates damages. This constitutes a material breach of Hunt’s

  obligations under the Bond.

     132.      Hunt did not make available the balance of the subcontract price to Liberty, which

  constitutes a material default of Hunt’s obligations under the performance bond. The Surety has

  suffered and continues to suffer substantial damages as a direct result of this material breach of

  Hunt’s obligations under the Bond.

     133.      Hunt improperly declared a “partial termination”. Effectively Hunt de-scoped

  work but did so under a claim of a partial termination. This declaration was not only wrongful

  but caused the Surety significant damages, which are still accruing. This “partial termination”

  was a material breach of Hunt’s obligations under the Bond, and had the effect of releasing the

  Bond.

     134.      Hunt’s improper unilateral completion with Brandt does not constitute "reasonable

  costs,” as required by the terms of the performance bond. This constitutes a material breach of

  Hunt’s obligations under the Bond.

     135.      Due to Hunt’s breaches of its obligations under the Bond, the Surety has suffered

  and continues to suffer significant damages, including costs related to consulting fees and

  attorney’s fees, which were a direct cause of Hunt’s breaches of its obligations under the Bond.

  The Surety’s damages are still accruing.




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                         COUNT II – DECLARATORY JUDGMENT

      136.     The Surety incorporates by reference paragraphs 103-135 above in this Count II as

  though fully restated herein.

      137.     This is an action for declaratory judgment and supplemental relief under 28 U.S.C.

  §§ 2201 and 2202.

      138.     In order to resolve this controversy, the Surety requests that, pursuant to 28 U.S.C.

  § 2201 and 2202, this court declare the respective rights and duties of the parties in this matter,

  including, in particular, that the court declare that:

      a.       The Bond is null & void, and the Surety is discharged of any duty on the Bond,

  because of the material breaches by Hunt;

      b.       Alternatively, the Surety’s obligations under the Bond are discharged to the extent

  of the breaches by Hunt and the resulting damages;

      c.       Hunt failed to give adequate notice and an adequate opportunity to cure the alleged

  issues;

      d.       Hunt’s improper unilateral completion with Brandt does not constitute "reasonable

  costs,” as required by the terms of the performance bond;

      e.       The Surety is exonerated from any obligations under the Bond because of Hunt’s

  material alterations of the bonded contract;

      f.       The Bond does not cover, in any way, the Professional Services Agreement

  between Cobb and Hunt.

      g.       The Bond does not cover fraud;

      h.       The Bond does not cover the punitive damages sought by Hunt;

      i.       The Bond does not cover the out-of-pocket and other damages sought by Hunt;



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      j.       If the Subcontract is rescinded, the Bond is no longer effective.



                      COUNT III – ATTORNEYS’ FEES AND COSTS

      139.     Pursuant to Texas Civil Practices & Remedies Code 38.001, et. seq., applicable

  statutes, common law, and the contracts, the Surety is entitled to recover its attorney’s fees and

  costs.



                                   REQUEST FOR RELIEF

      WHEREFORE, premises considered, the Surety respectfully requests that the Court:

      a.       Render judgment that Hunt take nothing in its Claim against the Surety;

      b.       Dismiss Hunt’s Claim against the Surety with prejudice, assessing costs against

  Hunt;

      c.       Award the Surety its damages against Hunt, as may be proved at trial;

      d.       Declare the rights & responsibilities of the parties, including but not limited to

  declaring that the Bond is null & void;

      e.       As against Hunt, that the Court grant the Surety’s reasonable attorneys’ fees and

  costs;

      f.       As against Hunt, such other and further relief as this Court deems equitable and

  just.

                                             Respectfully submitted,
                                             LANGLEY LLP

                                             By:     /s/ Keith A. Langley
                                                   Keith A. Langley – Attorney in Charge
                                                   Texas State Bar No. 11919500
                                                   1301 Solana Blvd., Bldg. 1, Suite 1545
                                                   Westlake, Texas 76262


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                                     INSURANCE COMPANY




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                                CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing is to be delivered to the following
parties in accordance with the Federal Rules of Civil Procedure on the 19th day of February, 2018.

       Casey Low
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                                                      /s/ Keith A. Langley
                                                     Keith A. Langley




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